                                                                  Case 2:16-cr-00071-JLR Document 71 Filed 01/12/21 Page 1 of 4
    AO245D                          (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                    Sheet 1
    Brown Kenan Revocatio nJNC
    AO245D                          Judgment in a Criminal Case                             For Revocatio ns




                                                                           UNITED STATES DISTRICT COURT
                                                                                         Western District of Washington
                                    UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE
                                               v.                                                                  (For Revocation of Probation or Supervised Release)

                                                                     Kenan Brown                                   Case Number:              2:16CR00071-JLR-1
                                                                                                                   USM Number:               47680-086
                                                                                                                   Dennis Carroll
                                                                                                                   Defendant’s Attorney
    THE DEFENDANT:
      6admitted guilt to violation(s)                                             1 to 4 and 6                                  of the petitions dated
                           was found in violation(s)                                                                      after denial of guilt.

    The defendant is adjudicated guilty of these offenses:

    Violation Number                                                        Nature of Violation                                                                      Violation Ended
    1.                                                                      Using methamphetamine                                                                    07/28/2020
    2.                                                                      Using marijuana                                                                          07/28/2020
    3.                                                                      Failure to report                                                                        08/18/2020
    4.                                                                      Failure to participate in treatment                                                      09/02/2020
    5.                                                                      Committing assault in the fourth degree.                                                 11/26/2020
    6.                                                                      Committing obstruction of a law enforcement officer.                                     11/26/2020


    The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
      6The defendant has not violated condition(s)                                                            5                             and is discharged as to such violation(s).
    It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.
                                                                                                                   /s/ Stephen Hobbs
                                                                                                                   Stephen Hobbs, Assistant United States Attorney

                                                                                                                   January 12, 2021
                                                                                                                   Date of Imposition of Judgment

                                                                                                                     A
                                                                                                                   Signature of Judge
                                                                                                                   James L. Robart, United States District Judge
                                                                                                                   Name and Title of Judge
                                                                                                                   January 12, 2021
    Sheet 1
                                                                                                                   Date




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                                          Case 2:16-cr-00071-JLR Document 71 Filed 01/12/21 Page 2 of 4
AO245D                             (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                   Sheet 2 — Imprisonment
                                                                                                                                 Judgment — Page 2 of 4
DEFENDANT:                                       Kenan Brown
CASE NUMBER:                                     2:16CR00071-JLR-1

Sheet 2 — I mprison ment
                                                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
    12 months.

                        The court makes the following recommendations to the Bureau of Prisons:



6 The defendant is remanded to the custody of the United States Marshal.
                        The defendant shall surrender to the United States Marshal for this district:
                             at                                 a.m.           p.m.     on                                          .
                             as notified by the United States Marshal.
                        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                             before 2 p.m. on                                                     .
                             as notified by the United States Marshal.
                             as notified by the Probation or Pretrial Services Office.

                                                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                                 to
at                                                                   , with a certified copy of this judgment.



                                                                                                               UNITED STATES MARSHAL

                                                                                              By
                                                                                                            DEPUTY UNITED STATES MARSHAL
                                                        Case 2:16-cr-00071-JLR Document 71 Filed 01/12/21 Page 3 of 4
AO245D                                           (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                                 Sheet 5 — Criminal Monetary Penalties
                                                                                                                                                          Judgment — Page 3 of 4
DEFENDANT:                                                     Kenan Brown
CASE NUMBER:                                                   2:16CR00071-JLR-1
                                                                                CRIMINAL MONETARY PENALTIES
                                        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Sheet 5 — Criminal M onetary Penalties




                                                     Assessment                   Restitution                Fine               AVAA Assessment*          JVTA Assessment**
TOTALS                                            $ 100.00 (Paid)               $ N/A                       $ N/A              $ N/A                     $ N/A

                                         The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C)
                                         will be entered after such determination.
                                         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                                         victims must be paid before the United States is paid.

Name of Payee                                                                                 Total Loss***          Restitution Ordered             Priority or Percentage




TOTALS                                                                                                $ 0.00                        $ 0.00

                                         Restitution amount ordered pursuant to plea agreement $
                                         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                                         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                                         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
                                         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                              the interest requirement is waived for the     fine             restitution
                                              the interest requirement for the      fine          restitution is modified as follows:

                                         The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
                                         of a fine is waived.

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
    offenses committed on or after September 13, 1994, but before April 23, 1996.
                                              Case 2:16-cr-00071-JLR Document 71 Filed 01/12/21 Page 4 of 4
AO245D                                 (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                       Sheet 6 — Schedule of Payments
                                                                                                                                             Judgment — Page 4 of 4
DEFENDANT:                                           Kenan Brown
CASE NUMBER:                                         2:16CR00071-JLR-1

Sheet 6 — Schedule of Payments
                                                                              SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

6                                PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
                                 Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

                                6 During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
                                       whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

                                6 During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
                                       monthly household income, to commence 30 days after release from imprisonment.

                                   During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
                                       household income, to commence 30 days after the date of this judgment.

                                 The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
                                 penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
                                 defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
                                 material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                       Joint and Several

                                 Case Number
                                 Defendant and Co-Defendant Names                                                Joint and Several      Corresponding Payee,
              (including defendant number)                                                       Total Amount        Amount                if appropriate



                       The defendant shall pay the cost of prosecution.

                       The defendant shall pay the following court cost(s):

                       The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
